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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-CR-484 (RDM)
                                              :
MICAJAH JOEL JACKSON,                         :
                                              :
                       Defendant.             :

        UNOPPOSED MOTION TO EXTEND GOVERNMENT’S SENTENCING
                MEMORANDUM DEADLINE BY SEVEN DAYS

       The United States of America hereby requests that this Court extend the deadline for the

government’s sentencing memorandum, set on the docket in its MINUTE ORDER dated

November 22, 2021, for a period of seven days. This would require the government to file its

sentencing memorandum as to the defendant by no later than February 18, 2022. As defense

counsel has already filed her sentencing memorandum, at this time, the government is not asking

the Court to continue the sentencing hearing, which is currently set for February 25, 2022. No prior

extensions have been sought and the government is not making this request to delay the sentencing

or for any other improper purpose.




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       The government has conferred with counsel for defendant, and she indicated that the

government’s request for an extension of seven days to file its sentencing memorandum may be

filed as unopposed.



                                          Respectfully submitted,

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